       Case 1:23-cv-01349-JPO-JLC Document 32 Filed 11/27/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 FOX RIVER PROPERTIES. INC.,
                       Plaintiff,
                                                                    23-CV-1349 (JPO)
                     -v-
                                                                         ORDER
 SALVATORE GIGANTE,
                                Defendant.


J. PAUL OETKEN, District Judge:

       The Court has been informed that the parties have reached a settlement in principle of

this case. Accordingly, it is hereby ORDERED that this action is DISMISSED without costs and

subject to restoring the action to the Court’s calendar, provided the application to restore the

action is made within thirty days.

       All filing deadlines and conference dates are adjourned sine die.

       SO ORDERED.

Dated: November 27, 2023
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
